
The Chancellor.
I am of opinion,
1. The complainant is entitled to a decree for a specific performance of the contract of the thirtieth of December, eighteen hundred and thirty-seven, upon payment of the consideration therein expressed, with interest.
2. The evidence satisfies me that complainant purchased in good faith, for a fair price, and with an intention to fulfil his contract: that the defendant’s conversation had fully justified the belief on complainant’s part that specie would not be demanded, and was, therefore, sufficient excuse for its not being tendered on the day; and that a demand on that day, and a refusal to give reasonable time for producing the specie, was arbitrary and unjust, and will not defeat the complainant of his rights under the contract, and especially so after being in possesion and making improvements on the property.
3. That the complainant’s promise to take a lease was made under the impression that his right to demand a deed was gone, by the course of defendant’s conduct towards him, in demanding specie, and should not be allowed to avail the defendant in equity. It was designed, under this idea only, as a protection temporarily to the complainant’s possession.
*3304. That complainant’s decree should be without costs, after his folly on the subject of the lease.
5. That a reference be taken to a master to ascertain the amount due on the contract.
